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                                      CERTIFICATE OF SERVICE


       I, Michael Patrick Siano, do hereby certify that a true copy of the foregoing Summons and
       Waiver of the Service of Summons with pre-paid postage envelope has been served upon by
       placing same in the U.S. Mail, properly addressed to as follows:




      PARKER IBRAHIM & BERG LLP                                PARKER McCAY P.A. LAW OFFICES

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                                                                                         11-   zJ./-Zozv




                                                Michael Patrick Siano




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